  Case 1:16-cv-00858-LJM-TAB
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      UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

                                                   2017-2330

                                STONE BASKET INNOVATIONS, LLC,
                                        Plaintiff - Appellee

                                                      v.

                                         COOK MEDICAL LLC,
                                          Defendant - Appellant

  Appeal from the United States District Court for the Southern District of Indiana in No. 1:16-cv-00858-
                                 LJM-TAB, Judge Larry J. McKinney.

                                                   MANDATE

     In accordance with the judgment of this Court, entered June 11, 2018, and pursuant to Rule 41(a) of
the Federal Rules of Appellate Procedure, the formal mandate is hereby issued.



                                                               FOR THE COURT

                                                               /s/ Peter R. Marksteiner
                                                               Peter R. Marksteiner
                                                               Clerk of Court


cc: Clerk of Court, Southern District of Indiana
James Richard Ferguson
Robert E. Freitas
Daniel J. Weinberg
Joshua Young
